                 Case 2:10-cr-00327-TLN Document 66 Filed 09/13/10 Page 1 of 3


 1   Edward W. Swanson, SBN 159859
     SWANSON & McNAMARA LLP
 2   300 Montgomery Street, Suite 1100
     San Francisco, California 94104
 3   Telephone: (415) 477-3800
     Facsimile: (415) 477-9010
 4
     Attorney for AKBAR BHAMANI
 5
 6
 7
 8
 9                                 UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA,                         Case No. 2:10-cr-00327 MCE

13                            Plaintiff,                STIPULATION AND ORDER
                                                        EXTENDING DEFENDANT AKBAR
14              vs.                                     BHAMANI’S AND DEFENDANT
                                                        FEROZA BHAMANI’S TIME TO
15    AKBAR BHAMANI, ET AL.,                            SECURE APPEARANCE BOND

16                            Defendants.

17
18
                                              STIPULATION
19
20          Defendant Akbar Bhamani, by and through his counsel, Edward Swanson, defendant

21   Feroza Bhamani, by and through her counsel, Matthew Bockmon, and the United States, by and

22   through Assistant United States Attorney R. Steven Lapham, hereby stipulate and agree as

23   follows:

24          1)        Akbar Bhamani and Feroza Bhamani made their initial appearances before this

25   Court on August 13, 2010. At that appearance, the government moved for the detention of both

26   Akbar and Feroza Bhamani.

27          2)        At the August 13 appearance the government also informed the Court that the

28   defense and the government had reached an agreement regarding the custody status of the
                 Case 2:10-cr-00327-TLN Document 66 Filed 09/13/10 Page 2 of 3


 1   defendants. Each defendant would be released on a $100,000 unsecured appearance bond co-
 2   signed by the defendants’s friend, Mr. Ashraf “Mike” Ali. This release was conditional on Mr.
 3   Ali’s posting of $100,000 worth of property to secure the bond by Friday, August, 27, 2010.
 4   The Court ordered the release of the defendants pursuant to this agreement.
 5          3)      On August 26, 2010, Akbar Bhamani filed a Stipulation and Proposed Order
 6   regarding the defendants’ secured bond. Under the terms of the Stipulation, the government and
 7   the defendants agreed that the defendants would use property owned by Ms. Bhamani’s brother,
 8   Amiruddin Sewani, and his wife, Nasreen Sewani, to secure the appearance bond. This property
 9   is located in New York state. The parties also agreed that the deadline for posting this property
10   would be extended to Friday, September 3, 2010. On August 27, 2010, the Court issued an
11   order pursuant to the parties’ stipulation.
12          4)      On September 2, 2010, Akbar Bhamani filed a Stipulation and Proposed Order
13   regarding the defendants’ bond. The parties agreed, and the Court ordered, that the deadline for
14   posting the property would be extended to Monday, September 13, 2010.
15          5)      Following the Court’s order, defendants have been working diligently to obtain
16   the documents necessary to secure the bond. Defendants have procured an appraisal of the
17   property that will be used to secure the bond. Defendants have also obtained a copy of the title
18   report for the property. Both of these documents have been provided to the government.
19   Counsel for defendants is in the process of preparing an affidavit of confession of judgment to be
20   executed, along with the appearance bond, by the property owners. However, because the
21   property owners are located in New York, counsel requires additional time to obtain and file the
22   executed documents.
23          6)      Counsel for Mr. Bhamani has spoken with AUSA Lapham about the need for
24   additional time to complete the posting of the property. The government has no objection to
25   extending the time to post the property.
26          7)      Mr. Bockmon’s office has also indicated that he has no objection to extending the
27   time to post the bond.
28


                                                     2
                 Case 2:10-cr-00327-TLN Document 66 Filed 09/13/10 Page 3 of 3


 1          8)      The parties agree that the defendants have until September 17, 2010 to post the
 2   property necessary to secure the bond for Akbar and Feroza Bhamani.
 3
 4          IT IS SO STIPULATED.
 5
     Dated: September 10, 2010                                  /s/ Edward W. Swanson
 6                                                              EDWARD W. SWANSON
                                                                Attorney for AKBAR BHAMANI
 7
     Dated: September 10, 2010                                  /s/ Matthew Bockmon
 8                                                              MATTHEW BOCKMON
                                                                Attorney for FEROZA BHAMANI
 9
     Dated: September 10, 2010                                  /s/ R. Steven Lapham
10                                                              R. STEVEN LAPHAM
                                                                Assistant United States Attorney
11
12
13
14                                               ORDER
15          PURSUANT TO STIPULATION, IT IS SO ORDERED.
16
17   Dated: September 10, 2010
18
19
20
                                                 _____________________________________
21                                               KENDALL J. NEWMAN
                                                 UNITED STATES MAGISTRATE JUDGE
22
23
24
25
26
27
28


                                                     3
